 Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 1 of 12 PageID #:8299




               IN THE UNITED STATES DISTRICT COURT
      FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



BCBSM, INC., et al.,                            Case No. 1:20-cv-01853

     Plaintiffs,
                                                 Honorable Virginia M. Kendall
                       v.                        Honorable Sheila M. Finnegan

WALGREEN CO. & WALGREENS BOOTS                   Related Cases:
ALLIANCE, INC.,                                  Case No. 1:20-cv-04738
                                                 Case No. 1:20-cv-03332
     Defendants.                                 Case No. 1:20-cv-01929
                                                 Case No. 1:20-cv-04940
                                                 Case No. 1:22-cv-01362
WALGREEN CO. & WALGREENS BOOTS
ALLIANCE, INC.,

      Third-Party Plaintiffs,

                       v.

PRIME THERAPEUTICS LLC & OMEDARX, INC.,

      Third-Party Defendants.




                                JOINT STATUS REPORT
     Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 2 of 12 PageID #:8300




         Pursuant to the Court’s May 25, 2022, Order (ECF No. 276) stating that the parties shall

provide joint status reports at 30-day intervals and the parties’ last Joint Status Report dated

December 19, 2022 (ECF No. 372), the Initial Plaintiffs,1 the Additional Plaintiffs,2

Defendant / Third-Party Plaintiff Walgreen Co. (“Walgreens”) and Defendant Walgreens Boots

Alliance, Inc. (together with Walgreens, “Defendants”), and Third-Party Defendant Prime

Therapeutics LLC (“Prime”), through their respective counsel, respectfully submit the following

Joint Status Report.

    I.    The Current Deadlines Imposed by the Court and Whether the Matter Has
          Been Referred to the Magistrate Judge in Any Fashion

          A.     Deadline for the Close of Fact Discovery

         By order dated September 15, 2022 (ECF No. 336), fact discovery is currently set to close

on April 28, 2023.




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  BCBSM, Inc. (d/b/a Blue Cross and Blue shield of Minnesota); HMO Minnesota (d/b/a Blue
Plus); Health Options, Inc. (d/b/a Florida Blue HMO); Blue Cross and Blue Shield of North
Carolina; Blue Cross Blue Shield of North Dakota; Blue Cross and Blue Shield of Florida, Inc.
(d/b/a Florida Blue); Blue Cross and Blue Shield of Alabama; Blue Cross and Blue Shield of
Kansas, Inc.; Blue Cross and Blue Shield of Massachusetts, Inc.; Blue Cross and Blue Shield of
Massachusetts HMO Blue, Inc.; Wellmark, Inc. (d/b/a Wellmark Blue Cross and Blue Shield and
d/b/a Wellmark Blue Cross and Blue Shield of Iowa); Wellmark of South Dakota, Inc. (d/b/a
Wellmark Blue Cross and Blue Shield of South Dakota); Wellmark Health Plan of Iowa, Inc.;
Wellmark Synergy Health, Inc.; Wellmark Value Health Plan, Inc.; Blue Cross and Blue Shield of
Arizona, Inc. (d/b/a Blue Cross Blue Shield of Arizona and d/b/a AZBLUE); Asuris Northwest
Health; Blue Cross and Blue Shield of Kansas City, Inc.; Cambia Health Solutions, Inc.; Regence
BlueShield of Idaho, Inc.; Regence BlueCross BlueShield of Oregon; Regence BlueCross
BlueShield of Utah; Regence BlueShield; HealthNow New York, Inc.; Highmark Western New
York, Inc. (f/k/a Blue Cross of Western New York); Northeastern New York (f/k/a BlueShield of
Northeastern New York); Horizon Healthcare Services, Inc. (d/b/a Horizon Blue Cross Blue Shield
of New Jersey); and Horizon Healthcare of New Jersey, Inc. (d/b/a Horizon NJ Health).
2
  CareFirst of Maryland, Inc.; Group Hospitalization and Medical Services, Inc.; CareFirst
BlueChoice, Inc.; Blue Cross and Blue Shield of South Carolina; BlueChoice HealthPlan of South
Carolina, Inc.; Louisiana Health Service & Indemnity Company, d/b/a/ Blue Cross and Blue Shield
of Louisiana, and HMO Louisiana, Inc.


                                                 1
  Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 3 of 12 PageID #:8301




           B.       Referral to Magistrate Judge

       On April 11, 2022, the Court referred this case to Magistrate Judge Sheila Finnegan for

general discovery supervision. (ECF No. 252.)

           C.       Expert Discovery

       By order dated September 15, 2022 (ECF No. 336), expert discovery is currently governed

by the following deadlines:

                •   June 9, 2023 – Opening expert reports due

                •   July 18, 2023 – Rebuttal expert reports due

                •   September 1, 2023 – Close of expert discovery

           D.       Proposed Pre-Trial Scheduling Order and Dispositive Motions

       By order dated September 15, 2022 (ECF No. 336), the parties are to submit a proposed

pre-trial scheduling order, including deadlines for dispositive and pre-trial motions, by September

8, 2023.

       On December 9, 2022, Third Party Defendant OmedaRx, Inc. f/k/a Regence Rx, Inc.

(“OmedaRx”), filed a motion to dismiss the third-party complaint (ECF No. 370) that the Court

granted Walgreens leave to file on August 23, 2022 (ECF No. 319). The motion to dismiss alleges

that the Court lacks personal jurisdiction over OmedaRx and that Defendants failed to state a valid

contribution claim. Walgreens filed its opposition brief on January 16, 2023, and OmedaRx’s

reply is due by January 27. (See ECF No. 381.) Counsel to OmedaRx and the Initial Plaintiffs

has indicated to Defendants’ counsel that OmedaRx will not respond to the discovery requests that

Defendants served on OmedaRx on December 2, 2022, until the Court has resolved OmedaRx’s

pending motion to dismiss. OmedaRx relies on the Court’s prior instruction to not move forward




                                                   2
  Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 4 of 12 PageID #:8302




with discovery during pending disputes over jurisdiction. (See November 18, 2022, Joint Status

Report, ECF No. 357, at 4, quoting 7/16/20 Hrg. Tr. at 13:7-9, 14:16-18.)

 II.     The Progress of Discovery

         A.     Document Production and Written Interrogatories

        As reported in the November 18, 2022 Joint Status Report, the parties are currently

engaged in written discovery and continue to produce documents and respond to written

discovery requests. The parties have continued to engage in a largely productive dialogue

regarding ongoing discovery obligations and have exchanged letters over the course of the past

several months and weeks outlining concerns and expectations in this regard. There remain open

disputes regarding the scope of certain written discovery, on which the parties continue to confer.

Most significantly, Walgreens has filed a Motion to Compel Plaintiffs’ Document Discovery and

Related Metrics regarding material gaps in the Initial Plaintiffs’ document productions. (ECF

No. 374). Walgreens also expects to file a motion to compel regarding specific discovery requests

on which it believes there remains an impasse.

        As reported in the December 19, 2022 Joint Status Report, the Additional Plaintiffs and

Defendants have each served written discovery requests.          Defendants have provided the

Additional Plaintiffs with the written and document discovery produced by Defendants before

the Additional Plaintiffs joined the case and served written responses and objections to the

Additional Plaintiffs’ document requests. The Additional Plaintiffs served Defendants written

responses to Defendants’ discovery requests on January 17, 2023.

         B.     Depositions of the Parties and Their Former and Current Employees

        Plaintiffs have taken depositions of one current and two former Walgreens employees.

The deposition of an additional Walgreens employee is scheduled to take place on February 17,

2023.


                                                 3
  Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 5 of 12 PageID #:8303




       The Initial Plaintiffs / Counter-Defendants and Defendants have exchanged initial drafts

of topic lists for corporate representative depositions. The Additional Plaintiffs and Defendants

intend to exchange initial drafts of topic lists in the coming weeks.

         C.     Parties’ Positions on Discovery Schedule

       Initial Plaintiffs/Counter-Defendants’ Position.

       The Initial Plaintiffs incorporate by reference their comments in prior discovery status

reports. The Initial Plaintiffs anticipate completing all discovery by the dates currently prescribed

in the schedule. Since the filing of the last Joint Status Report on December 18, 2022, the Initial

Plaintiffs have produced 10,097 documents/141,411 pages, and the Initial Plaintiffs anticipate

producing approximately 57,000 additional documents in the next two weeks. Initial Plaintiffs’

document review and production workflow remains continuous and ongoing.

       The Initial Plaintiffs continue to dispute Defendants’ assertion regarding “material gaps in

Plaintiffs’ document productions.” The Initial Plaintiffs also dispute that the parties will need an

extension of the current discovery schedule.

       Additional Plaintiffs’ Position.

       The Additional Plaintiffs incorporate by reference their comments in prior discovery status

reports. Following the Court’s ruling on Defendants’ Motion to Dismiss (ECF No. 360), the parties

are engaging in discovery. Thus far, both Defendants and Additional Plaintiffs have exchanged

initial discovery requests, and responses, for both interrogatories and production of documents.

The Additional Plaintiffs served their written responses and objections to Defendants’

requests yesterday, January 17, 2023, and anticipate that the parties will confer on these shortly.

The Additional Plaintiffs have begun gathering responsive documents and anticipate that they will

commence rolling document productions in the near future as the parties confer on the scope of




                                                 4
  Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 6 of 12 PageID #:8304




production and search terms. The Additional Plaintiffs are also pursuing completion of document

productions by subpoenaed third-parties, as well as scheduling of third-party depositions.

        Defendants’ Position.

       Defendants believe the parties will need an extension of the current discovery schedule,

the length of which will depend on the timing and outcomes of pending motions and the various

Plaintiffs’ timetables in completing their collection, search, and production of documents. First,

Defendants filed their Motion to Compel Plaintiffs’ Document Discovery and Related Metrics on

December 21, 2022. (ECF No. 374). As reported in the November 18 and December 19, 2022

Joint Status Reports, Defendants discovered material gaps in the Initial Plaintiffs’ document

productions and have raised concerns about those gaps’ implications for the Initial Plaintiffs’

broader search and review. Plaintiffs’ opposition to that motion is due by January 20, 2023, and

Defendants’ reply is due by February 6, 2023. (ECF No. 385). Once Defendants receive Plaintiffs’

completed document productions (consistent with their current undertakings as well as the pending

motion’s outcome), Defendants anticipate a significant number of depositions. Second, third-party

defendant OmedaRx has indicated that it will not respond to Defendants’ discovery requests until

its dismissal motion is resolved. When that motion is resolved, the parties will need to conduct

discovery related to OmedaRx, either through Defendants’ pending discovery requests to

OmedaRx and the Initial Plaintiffs or through a third-party subpoena. Finally, discovery from

third-party defendant Prime and the Additional Plaintiffs is underway, but Prime and the

Additional Plaintiffs have not yet begun to produce documents.

       Third-Party Defendant, Prime’s Position.

       Prime expects that motion and discovery progress within the next 30 days will help the

parties and Court determine whether an amendment to the scheduling order is needed. Prime does




                                                5
  Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 7 of 12 PageID #:8305




not presently seek a change to the scheduling order.

  III.     Other Third-Party Discovery

         The Initial Plaintiffs/Counter-Defendants have issued subpoenas to the following third-

party entities:

            •     National Council of Prescription Drug Programs, Inc.

            •     Pharmaceutical Care Management Association

            •     Costco Wholesale Corporation

            •     The Kroger Co.

            •     Elixir Rx Solutions, LLC

            •     GoodRx Holdings, Inc.

            •     Klix, LLC d/b/a Easy Drug Card

            •     Towers Administrators LLC d/b/a SingleCare Administrators

            •     NeedyMeds, Inc.

            •     U.S. Pharmacy Card, LLC

            •     Discount Drug Network, LLC

            •     Texas Health and Human Services

            •     Oregon Health Authority

            •     Connecticut Department of Social Services

         The Additional Plaintiffs have issued subpoenas to the following third-party entities:

            •     Caremark, LLC

            •     Express Scripts, Inc.

            •     OptumRx, Inc.

            •     Walmart, Inc.



                                                   6
  Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 8 of 12 PageID #:8306




           •   Target Corporation

           •   WAGDCO, LLC

           •   MedImpact Healthcare Systems, Inc.

           •   Envolve Pharmacy Solutions Pharmacy Solutions, Inc.

           •   Leehar Distributors, LLC

           •   Medical Security Card Company, LLC

       Defendants / Counter-Plaintiff have issued subpoenas to the following third parties:

           •   Bretta Grinsteinner

           •   Blue Cross Blue Shield Association

           •   Caremark, LLC

           •   Express Scripts, Inc.

           •   MedImpact Healthcare Systems, Inc.

           •   OptumRx, Inc.

           •   Preferred Care Services, Inc.

           •   EPIC Pharmacy Network, Inc.

           •   Health Mart Atlas, LLC

           •   Wholesale Alliance, LLC

 IV.    The Status of Discovery Motions

       Plaintiffs filed on October 21, 2022 a Motion to Compel (ECF No. 339) the production

of certain documents clawed back by Defendants based on a claim of privilege or protection. The

Court denied the motion on January 4, 2023. (ECF No. 385).

       As noted in Section 2(C) supra, Defendants filed a Motion to Compel Plaintiffs’

Document Discovery and Related Metrics on December 21, 2022. (ECF No. 374). Plaintiffs’



                                               7
  Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 9 of 12 PageID #:8307




response is due by January 20, 2023, and Defendants’ reply is due by February 6, 2023. (ECF

No. 385).

       Defendants expect that they will file in the near term an additional motion to compel

related to other issues on which the parties have reached an impasse within the coming days.

Reserving all rights to file additional discovery motions as they become necessary, particularly

with respect to the Additional Plaintiffs’ and Prime’s ongoing discovery productions, Defendants

submit that this additional motion to compel will encompass all issues on which the parties have

reached an impasse as of the date of the motion’s filing.

 V.       Whether the Parties Have Engaged or Are Engaging in Settlement Discussions

       The parties have not engaged in settlement discussions.

 VI.      Whether the Parties Believe a Telephonic Hearing or In-Person Hearing Is
          Necessary Within the Next 60 Days

       Defendants request an in-person hearing on their Motion to Compel Plaintiffs’ Document

Discovery and Related Metrics, following Defendant’s February 6, 2023 deadline to file a reply

brief. Once Defendants file their forthcoming motion to compel the remaining issues with the

Initial Plaintiffs’ discovery responses, Defendants anticipate a need for a hearing to resolve such

motion.

       The parties do not otherwise anticipate the need for a hearing within the next 60 days.

       Pursuant to the Court’s May 25, 2022, Order (ECF No. 276), the parties shall continue to

provide joint status reports at 30-day intervals. Subject to the Court’s approval, the parties will

file the next status report by February 17, 2023.




                                                    8
Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 10 of 12 PageID #:8308




Dated: January 18, 2023                          Respectfully submitted,

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                                             9
Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 11 of 12 PageID #:8309



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                                      10
  Case: 1:20-cv-01853 Document #: 394 Filed: 01/18/23 Page 12 of 12 PageID #:8310




                               CERTIFICATE OF SERVICE

         I, Charles D. Zagnoli, an attorney authorized to practice before this Court, hereby

 certify that the foregoing Join Status Report was electronically filed on January 18, 2023, and

 will be served electronically via the Court’s ECF Notice system upon the registered parties

 and counsel of record.



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